                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                                GREEN BAY DIVISION

                                           )
ADAM W. DUCH, on behalf of himself and all
                                           )
others similarly situated,                 )
                                           )
                           Plaintiff,      )
                                           )
                vs.                        )                 Case No.: ______________________
                                           )
CLIENT SERVICES, INC.; a Missouri          )
Corporation; and, JOHN AND                 )
JANE DOES NUMBERS 1 THROUGH 25,            )
                                           )
                                           )
                           Defendants.     )


                CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE
                     FAIR DEBT COLLECTION PRACTICES ACT

                                I. PRELIMINARY STATEMENT

        1.      Plaintiff, ADAM W. DUCH (“Plaintiff” or “DUCH”), on his own behalf and on

behalf of the class he seeks to represent, brings this action for the illegal practices of the

Defendant CLIENT SERVICES, INC. (“CLIENT SERVICES”) who, inter alia, used false,

deceptive, and misleading practices, and other illegal practices, in connection with its attempts to

collect an alleged debt from the Plaintiff and other similarly situated consumers.

        2.      Plaintiff alleges that CLIENT SERVICES’s collection practices violate the Fair

Debt Collection Practices Act, 15 U.S.C. §§ 1692, et seq. (“FDCPA”).

        3.      Such collection practices include, inter alia, failing to explicitly identify

Plaintiff’s current creditor.

        4.      The FDCPA regulates the behavior of collection agencies attempting to collect a

debt on behalf of another. The United States Congress has found abundant evidence of the use of

abusive, deceptive, and unfair debt collection practices by many debt collectors, and has

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determined that abusive debt collection practices contribute to a number of personal

bankruptcies, marital instability, loss of jobs, and invasions of individual privacy. Congress

enacted the FDCPA to eliminate abusive debt collection practices by debt collectors, to ensure

that those debt collectors who refrain from using abusive debt collection practices are not

competitively disadvantaged, and to promote uniform State action to protect consumers against

debt collection abuses. 15 U.S.C. § 1692(a)-(e).

       5.      The FDCPA is a strict liability statute which provides for actual or statutory

damages upon the showing of one violation. The Seventh Circuit has held that whether a debt

collector’s conduct violates the FDCPA should be judged from the standpoint of the

“unsophisticated debtor.” Gammon v. GC Servs. Ltd. P’ship, 27 F.3d 1254, 1257 (7th Cir. 1994).

       6.      To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the

use of false, deceptive, and misleading collection letters and names a non-exhaustive list of

certain per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)-(16).

Among the per se violations prohibited by that section are: using any false representation or

deceptive means to collect or attempt to collect any debt or to obtain information concerning a

consumer, 15 U.S.C. § 1692e(10).

       7.      Furthermore, the FDCPA, at 15 U.S.C. § 1692g, requires that certain information

as to the validation of a debt be provided in a collection letter. 15 U.S.C. § 1692g(a)-(e). Among

the per se violations prohibited by that section are: failing to provide the name of the creditor to

whom the debt is owed, 15 U.S.C. § 1692g(a)(2).

       8.      Plaintiff, on behalf of himself and all others similarly situated, seeks statutory

damages, attorney fees, costs, and all other relief, equitable or legal in nature, as deemed

appropriate by this Court, pursuant to the FDCPA and all other common law or statutory

regimes.

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                                           II. PARTIES

       9.      DUCH is a natural person.

       10.     At all times relevant to this lawsuit, DUCH was a citizen of, and resided in, the

City of Clintonville, Waupaca County, Wisconsin.

       11.     At all times relevant to this complaint, CLIENT SERVICES is a for-profit

corporation existing pursuant to the laws of the State of Missouri.

       12.     Plaintiff is informed and believes, and on that basis alleges, that CLIENT

SERVICES maintains its principal business address at 3451 Harry S. Truman Boulevard, City of

St. Charles, St. Charles County, Missouri.

       13.     Defendants, JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are sued

under fictitious names as their true names and capacities are yet unknown to Plaintiff. The

Plaintiff will amend this complaint by inserting the true names and capacities of these DOE

defendants once they are ascertained.

       14.     Plaintiff is informed and believes, and on that basis alleges, that Defendants,

JOHN AND JANE DOES NUMBERS 1 THROUGH 25, are natural persons and/or business

entities all of whom reside or are located within the United States who personally created,

instituted and, with knowledge that such practices were contrary to law, acted consistent with,

conspired with, engaged in, and oversaw the violative policies and procedures used by the

employees of CLIENT SERVICES that are the subject of this Complaint. Those Defendants

personally control, and are engaged in, the illegal acts, policies, and practices utilized by

CLIENT SERVICES and, therefore, are personally liable for all the wrongdoing alleged herein.




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                                III. JURISDICTION & VENUE

        15.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1331.

        16.    Venue is appropriate in this federal district pursuant to 28 U.S.C. §1391(b)

because a substantial part of the events giving rise to Plaintiff’s claims occurred within this

federal judicial district, and because CLIENT SERVICES is subject to personal jurisdiction in

the State of Wisconsin at the time this action is commenced.

                            IV. FACTS REGARDING PLAINTIFF

        17.    Sometime prior to July 1, 2016, Plaintiff allegedly incurred and defaulted on a

financial obligation to Macy’s (“Macy’s Obligation”).

        18.    The Macy’s Obligation arose out of a transaction in which the money, property,

insurance, or services which are the subject of the transaction are primarily for personal, family,

or household purposes.

        19.    CLIENT SERVICES collects, and attempts to collect, defaulted debts incurred, or

alleged to have been incurred, for personal, family, or household purposes on behalf of creditors

using the U.S. Mail, telephone, and Internet.

        20.    On or around July 1, 2016, the creditor of the Macy’s Obligation either directly or

through intermediate transactions assigned, placed, or transferred the debt to CLIENT

SERVICES for collection.

        21.    CLIENT SERVICES is, at all times relevant to this complaint, a “debt collector”

as defined by 15 U.S.C. § 1692a(6).

        22.    CLIENT SERVICES contends the Macy’s Obligation is in default.

        23.    The Macy’s Obligation is a “debt” as defined by 15 U.S.C. §1692a(5).




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        24.     Plaintiff is, at all times relevant to this lawsuit, a “consumer” as that term is

defined by 15 U.S.C. § 1692a(3).

        25.     On or about July 1, 2016, CLIENT SERVICES mailed an initial collection letter,

which is dated July 1, 2016. (“07/01/2016 Letter”). A true and correct copy of the 07/01/2016

Letter is attached hereto as Exhibit A, except that the undersigned counsel has, in accordance

with Fed. R. Civ. P. 5.2, partially redacted the financial account numbers in an effort to protect

Plaintiff’s privacy.

        26.         The 07/01/2016 Letter was sent, or caused to be sent, by persons employed by

CLIENT SERVICES as a “debt collector” as defined by 15 U.S.C. § 1692a(6).

        27.     The 07/01/2016 Letter was sent to Plaintiff in connection with the collection of a

“debt” as defined by 15 U.S.C. § 1692a(5).

        28.     The 07/01/2016 Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).

        29.     On information and belief, the 07/01/2016 Letter is a mass-produced, computer-

generated, form letter that is printed and mailed by CLIENT SERVICES to consumers from

whom it is attempting to collect a debt.

        30.     The 07/01/2016 Letter is the first written communication CLIENT SERVICES

mailed Plaintiff.

        31.     At the top left of the 07/01/2016 Letter, the Letter reads, “RE: (DSNB)

Department Stores National Bank.”

        32.     In the first paragraph of the 07/01/2016 Letter it goes on to state, “The above

Macy’s account has been placed with our organization for collections.”

        33.     The 07/01/2016 Letter fails to explicitly identify the creditor.

        34.     The 07/01/2016 Letter also confuses the unsophisticated consumer by not clearly

showing the relationship between Department Store National Bank, Macy’s and the alleged debt.

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        35.     By failing to explicitly identify the creditor the CLIENT SERVICES leaves the

unsophisticated consumer in doubt about to who the alleged debt is owed and if it is legitimate.

        36.     CLIENT SERVICES’s failure to identify the creditor is false, deceptive and

misleading and is in violation of the FDCPA.

                     V. POLICIES AND PRACTICES COMPLAINED OF

        37.     It is CLIENT SERVICES’s policy and practice to mail written collection

communications to consumers, in the form attached as Exhibit A, which violate the FDCPA by,

inter alia, failing to explicitly identify the creditor.

        38.     On information and belief, CLIENT SERVICES’s written communications to

consumers, in the form attached as Exhibit A, as alleged in this complaint under the Facts

Concerning Plaintiff, number in at least the hundreds.

                                    VI. CLASS ALLEGATIONS

        39.     This action is brought as a class action. Plaintiff brings this action on behalf of

himself and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

        40.     Plaintiff seeks to certify one class.

        41.     With respect to the Class, this claim is brought on behalf of a class of all persons

with addresses in the State of Wisconsin, to whom CLIENT SERVICES mailed a written

collection communication, which failed to explicitly identify the creditor, during the period

beginning one year prior to the filing of this complaint and ending 21 days thereafter.

        42.     The identities of all class members are readily ascertainable from the business

records of CLIENT SERVICES and those businesses and governmental entities on whose behalf

it attempts to collect debts.




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       43.     Excluded from the Class are CLIENT SERVICES and all officers, members,

partners, managers, directors, and employees of CLIENT SERVICES and their respective

immediate families, and legal counsel for all parties to this action and all members of their

immediate families.

       44.     There are questions of law and fact common to the Class, which common issues

predominate over any issues involving only individual class members. The principal issues are

whether CLIENT SERVICES’s written communications to consumers, in the form attached

hereto as Exhibit A, violate 15 U.S.C. §§ 1692e, and 1692g(a)(2).

       45.     The Plaintiff’s claims are typical of the class members, as all are based upon the

same facts and legal theories.

       46.     The Plaintiff will fairly and adequately protect the interests of the Class defined in

this complaint. Plaintiff has retained counsel with experience in handling consumer lawsuits,

complex legal issues, and class actions, and neither Plaintiff nor his attorneys have any interests,

which might cause them not to vigorously pursue this action.

       47.     This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

               (a)     Numerosity: Plaintiff is informed and believes, and on that basis alleges,

                       the Class defined above is so numerous that joinder of all members would

                       be impractical.

               (b)     Common Questions Predominate: Common questions of law and fact

                       exist as to all members of the Class and those questions predominate over

                       any questions or issues involving only individual class members. With

                       respect to the Class, the principal issues are whether CLIENT SERVICES’s

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                       written communications to consumers, in the form attached hereto as

                       Exhibit A, violate 15 U.S.C. §§ 1692e and 1692g(a)(2).

               (c)     Typicality: The Plaintiff’s claims are typical of the claims of the class

                       members. Plaintiff and all members of the Class have claims arising from

                       CLIENT SERVICES’s common course of conduct complained of herein.

               (d)     Adequacy: The Plaintiff will fairly and adequately protect the interests of

                       the class members insofar as Plaintiff has no interests that are averse to

                       absent class members. Plaintiff is committed to vigorously litigating this

                       matter. Plaintiff has also retained counsel experienced in handling consumer

                       lawsuits, complex legal issues, and class actions. Neither Plaintiff nor his

                       counsel has any interests which might cause them not to vigorously pursue

                       the instant class action lawsuit.

               (e)     Superiority: A class action is superior to the other available means for the

                       fair and efficient adjudication of this controversy because individual joinder

                       of all members would be impracticable. Class action treatment will permit

                       a large number of similarly situated persons to prosecute their common

                       claims in a single forum efficiently and without unnecessary duplication of

                       effort and expense that individual actions would engender.

       48.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that the questions of law and fact common to members of the

Class predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

       49.     Based on discovery and further investigation (including, but not limited to,

Defendants’ disclosure of class size and net worth), Plaintiff may, in addition to moving for class

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certification using modified definitions of the Class, Class Claims, and the class period, and seek

class certification only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4).

                       VII. FIRST CAUSE OF ACTION
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                       (AGAINST ALL DEFENDANTS)

       50.     Plaintiff realleges and incorporates by reference the allegations in the preceding

paragraphs of this Complaint.

       51.     CLIENT SERVICES violated the FDCPA. CLIENT SERVICES’s violations with

respect to its written communications, in the form attached as Exhibit A include, but are not

limited to the following:

               (a)     Using false, deceptive, and misleading representations or means in
                       connection with the collection of any debt in violation of 15 U.S.C.
                       § 1692e; and

               (b)     Failing to explicitly identify the name of the creditor to whom the
                       debt is owed in violation of 15 U.S.C. § 1692g(a)(2).

                                 VIII. PRAYER FOR RELIEF

       52.     WHEREFORE, Plaintiff respectfully requests the Court enter judgment in his

favor and in favor of the Class as follows:

A.     For the FIRST CAUSE OF ACTION:

               (i)     An order certifying that the First Cause of Action may be maintained as a

                       class pursuant to Rule 23 of the Federal Rules of Civil Procedure and

                       appointing Plaintiff and the undersigned counsel to represent the Class set

                       forth and defined above;

               (ii)    An award of statutory damages for Plaintiff and the Class pursuant to 15

                       U.S.C. § 1692k(a)(2)(B);




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       (iii)   An incentive award in favor of Plaintiff in recognition for his services on

               the Class set forth and defined above;

       (iv)    Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. §

               1692k(a)(3); and

       (v)     For such other and further relief as may be just and proper.

                              IX. JURY DEMAND

Plaintiff hereby demands that this case be tried before a Jury.

               Respectfully submitted this 16th Day of January, 2017

                                        s/ Heather B. Jones
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